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 6
     Attorney for Alan Lee Doran
 7
 8                              UNITED STATES DISTRICT COURT

 9                                      DISTRICT OF NEVADA

10
     UNITED STATES OF AMERICA,                          Case No. 2:14-CR-050-JCM-VCF
11
                   Plaintiff,                           STIPULATION TO CONTINUE
12                                                      DEADLINE TO FILE
            v.
                                                        SUPPLEMENTAL TO MOTION
13
     ALAN LEE DORAN,                                    FOR COMPASSIONATE RELEASE
14                                                      (ECF NO. 49)
                   Defendant.                           (First Request)
15
16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
18   Trutanich, United States Attorney, and Elizabeth Olson White, Assistant United States
19   Attorney, counsel for the United States of America, and Rene L. Valladares, Federal Public
20   Defender, and Monique Kirtley, Assistant Federal Public Defender, counsel for Alan Lee
21   Doran, that the deadline to the supplement Defendant’s Motion for Compassionate Release
22   (ECF No. 49) be set for October 2, 2020; and that the deadline for the government’s response
23   be extended to October 16, 2020.
24
25
26
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 1           This Stipulation is entered into for the following reasons:
 2           1.     Mr. Doran filed a pro se motion for compassionate release on September 04,
 3   2020. ECF No. 49.
 4           2.     Undersigned counsel was assigned to represent Mr. Doran for the purposes of
 5   pursuing compassionate release on September 09, 2020. ECF No. 52.
 6           3.     Counsel needs additional time to review Mr. Doran’s pro se motion and draft a
 7   supplement, if necessary.
 8           4.     The additional time requested herein is not sought for purposes of delay, but
 9   merely to allow counsel for defendant sufficient time within which to be able to effectively
10   prepare a supplement.
11           5.     Additionally, denial of this request for continuance could result in a miscarriage
12   of justice.
13           6.     After receiving the supplement, Government counsel will likewise need
14   additional time to review that supplement and prepare and file the government’s response.
15           This is the first request to continue deadlines filed herein.
16           DATED this 15th day of September 2020.
17
18    RENE L. VALLADARES                                NCHOLAS A. TRUTANICH
      Federal Public Defender                           United States Attorney
19
20       /s/ Monique Kirtley                                /s/ Elizabeth Olson White
      By_____________________________                   By_____________________________
21    MONIQUE KIRTLEY                                   ELIZABETH OLSON WHITE
      Assistant Federal Public Defender                 Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 2
 3   UNITED STATES OF AMERICA,                          Case No. 2:14-CR-050-JCM-VCF
 4                 Plaintiff,                           ORDER
 5          v.
 6   ALAN LEE DORAN,
 7                 Defendant.
 8
                                              ORDER
 9
10          IT IS THEREFORE ORDERED that defense counsel’s supplement to Defendant’s

11   Motion for Compassionate Release (ECF No. 49) currently due on Friday, September 18, 2020,

12   be vacated and continued to Friday, October 2, 2020; and that the Government’s response to

13   Defendant’s supplement shall be due on Friday, October 16, 2020.
                  September
            DATED this ____ day18, 2020.
                                of September 2020.
14
15
16                                              ___________________________________
                                                UNITED STATES DISTRICT JUDGE
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